                                                                                                       Case 15-19728-AJC                      Doc 1          Filed 05/29/15                   Page 1 of 55
                                                                     B1 (Official Form 1) (04/13)
                                                                                                           United States Bankruptcy Court
                                                                                                            Southern District of Florida                                                                              Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Nunez, Enrique                                                                          Matheus, Sybel
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                      Enrique R Nunez                                                                         Sybel C Matheus
                                                                      Enrique Rafael Nunez                                                                    Sybel Celeste Matheus


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     3383                                                 (if more than one, state all):     3220
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      4508 NW 114th Ave, # 2107                                                               4508 NW 114th Ave, # 2107
                                                                      Doral, FL                                                                               Doral, FL
                                                                                                                            ZIPCODE 33178                                                                            ZIPCODE 33178
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Miami-Dade                                                                              Miami-Dade
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                                    Case 15-19728-AJC                   Doc 1        Filed 05/29/15                Page 2 of 55
                                                                     B1 (Official Form 1) (04/13)                                                                                                                           Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Nunez, Enrique & Matheus, Sybel

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ Timothy S. Kingcade                                        5/29/15
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                                           Case 15-19728-AJC                  Doc 1         Filed 05/29/15                  Page 3 of 55
                                                                     B1 (Official Form 1) (04/13)                                                                                                                                                   Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Nunez, Enrique & Matheus, Sybel

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Enrique Nunez                                                                      Signature of Foreign Representative
                                                                          Signature of Debtor                                      Enrique Nunez
                                                                      X   /s/ Sybel Matheus                                                                      Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                                Sybel Matheus
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 29, 2015
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Timothy S. Kingcade                                                           preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Timothy S. Kingcade                                                               110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          1370 Coral Way                                                                    pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          Miami, FL 33145-2960                                                              chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                                                                                            notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                                                                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 29, 2015
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                                    Case 15-19728-AJC            Doc 1       Filed 05/29/15         Page 4 of 55
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                         Southern District of Florida

                                                                     IN RE:                                                                                           Case No.
                                                                     Nunez, Enrique                                                                                   Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Enrique Nunez
                                                                     Date: May 29, 2015
                                                                                                    Case 15-19728-AJC            Doc 1       Filed 05/29/15         Page 5 of 55
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                         Southern District of Florida

                                                                     IN RE:                                                                                           Case No.
                                                                     Matheus, Sybel                                                                                   Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Sybel Matheus
                                                                     Date: May 29, 2015
                                                                     B6 Summary (Official Form 6 - Case  15-19728-AJC
                                                                                                   Summary) (12/14)                           Doc 1         Filed 05/29/15              Page 6 of 55
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                   Southern District of Florida

                                                                     IN RE:                                                                                                                Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                                                       Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $                  0.00



                                                                      B - Personal Property                                           Yes                          3 $           13,107.01



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $                 0.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        12                            $        572,785.05
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           3,261.51
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          4                                                     $           3,250.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      27 $            13,107.01 $            572,785.05
                                                                     B 6 Summary (Official Form 6 -Case  15-19728-AJC
                                                                                                   Summary) (12/14)           Doc 1      Filed 05/29/15        Page 7 of 55
                                                                                                                     United States Bankruptcy Court
                                                                                                                      Southern District of Florida

                                                                     IN RE:                                                                                       Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                              Chapter 7
                                                                                                              Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $           0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $       3,261.51

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $       3,250.00

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $       3,761.51


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $          0.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $   572,785.05

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $   572,785.05
                                                                     B6A (Official Form 6A) (12/07)     Case 15-19728-AJC                      Doc 1          Filed 05/29/15              Page 8 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                   Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     None
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                                                                                                                                                                                      TOTAL                                          0.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                     B6B (Official Form 6B) (12/07)     Case 15-19728-AJC                      Doc 1         Filed 05/29/15               Page 9 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                  Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on Hand                                                                                   J                              250.00
                                                                        2. Checking, savings or other financial            Bank of America Checking Acct #1096                                                          H                                111.00
                                                                           accounts, certificates of deposit or            Wells Fargo Checking Acct #4569                                                              H                                143.43
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and                  Wells Fargo Checking Acct #9369                                                                J                                50.79
                                                                           homestead associations, or credit               Joint with Debtor's Children
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                                                                           Wells Fargo Savings Acct #2517                                                                 J                                50.00
                                                                                                                           Joint with Debtor's Children
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Misc. Household Goods and Furnishings                                                          J                            2,980.00
                                                                           include audio, video, and computer              Based on Inventory List
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Misc. Clothing                                                                                 J                              400.00
                                                                        7. Furs and jewelry.                               2 Wedding rings $500.00                                                                        J                            2,450.00
                                                                                                                           1 Cartier watch $850.00
                                                                                                                           1 Tag watch $650.00
                                                                                                                           1 Tissot $150.00
                                                                                                                           1 Techno Marine $150.00
                                                                                                                           1 Victorinox $150.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                     B6B (Official Form 6B) (12/07) Case
                                                                                                    - Cont.     15-19728-AJC            Doc 1     Filed 05/29/15           Page 10 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                       Case No.
                                                                                                                            Debtor(s)                                                                        (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                     CURRENT VALUE OF
                                                                                                                     N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                               PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                 DEDUCTING ANY
                                                                                                                     E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                         EXEMPTION




                                                                      13. Stock and interests in incorporated            33 % Brazuelos, C.A.                                                    J                            5,668.69
                                                                          and unincorporated businesses.                 Assets:
                                                                          Itemize.                                       Banco Exterior Checking Acct #3207 = $1,407.48
                                                                                                                         Equipment/Machinery:
                                                                                                                         2 meat refrigetators $3,000
                                                                                                                         2 cash registers $1,000
                                                                                                                         1 glass refrigerator with 8 glass doors $6.500
                                                                                                                         1 open refrigerator for produce exhibition $1.500
                                                                                                                         5 stainless steal tables $500
                                                                                                                         5 wood tables for food exhibition $500
                                                                                                                         10 knifes for meat cutting $250
                                                                                                                         5 cutting boards $150
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                                                                                                                         2 envoplast machines $300
                                                                                                                         1 Meat mill $400
                                                                                                                         Total: $14,100.00
                                                                                                                         Inventory: $1,500.00
                                                                                                                         Accounts Receivables: None
                                                                                                                         Liabilities: None
                                                                                                                         Total Value: $17,007.48
                                                                                                                         E-Trade Stock Account                                                 H                                   0.00
                                                                                                                         TD Ameritrade Stock Account                                           H                              1,003.10
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                     B6B (Official Form 6B) (12/07) Case
                                                                                                    - Cont.     15-19728-AJC          Doc 1     Filed 05/29/15           Page 11 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                     Case No.
                                                                                                                          Debtor(s)                                                                                  (If known)

                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                    HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                             CURRENT VALUE OF
                                                                                                                   N                                                                                                        DEBTOR'S INTEREST IN
                                                                                                                   O                                                                                                         PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                   N                                                                                                           DEDUCTING ANY
                                                                                                                   E                                                                                                         SECURED CLAIM OR
                                                                                                                                                                                                                                 EXEMPTION




                                                                      24. Customer lists or other compilations     X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and           Debtors borrow vehicle from family members                                        J                                 0.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.          X
                                                                      27. Aircraft and accessories.                X
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                                                                      28. Office equipment, furnishings, and       X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and      X
                                                                          supplies used in business.
                                                                      30. Inventory.                               X
                                                                      31. Animals.                                 X
                                                                      32. Crops - growing or harvested. Give       X
                                                                          particulars.
                                                                      33. Farming equipment and implements.        X
                                                                      34. Farm supplies, chemicals, and feed.      X
                                                                      35. Other personal property of any kind      X
                                                                          not already listed. Itemize.




                                                                                                                                                                                              TOTAL                                 13,107.01
                                                                                                                                                                         (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                         Report total also on Summary of Schedules.)
                                                                     B6C (Official Form 6C) (04/13)Case          15-19728-AJC               Doc 1       Filed 05/29/15             Page 12 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                            Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on Hand                                                 Fla. Stat. § 222.25(4)                                                250.00                     250.00
                                                                     Bank of America Checking Acct #1096                          Fla. Stat. § 222.25(4)                                                111.00                     111.00
                                                                     Wells Fargo Checking Acct #4569                              Fla. Const. Art X, § 4(a)(2)                                          143.43                     143.43
                                                                     Wells Fargo Checking Acct #9369                              Fla. Const. Art X, § 4(a)(2)                                            50.79                     50.79
                                                                     Joint with Debtor's Children
                                                                     Wells Fargo Savings Acct #2517                               Fla. Const. Art X, § 4(a)(2)                                            50.00                     50.00
                                                                     Joint with Debtor's Children
                                                                     Misc. Household Goods and Furnishings                        Fla. Const. Art X, § 4(a)(2)                                          752.98                 2,980.00
                                                                     Based on Inventory List                                      Fla. Stat. § 222.25(4)                                              2,227.02
                                                                     Misc. Clothing                                               Fla. Stat. § 222.25(4)                                                400.00                     400.00
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                                                                     2 Wedding rings $500.00                                      Fla. Stat. § 222.25(4)                                              2,450.00                 2,450.00
                                                                     1 Cartier watch $850.00
                                                                     1 Tag watch $650.00
                                                                     1 Tissot $150.00
                                                                     1 Techno Marine $150.00
                                                                     1 Victorinox $150.00
                                                                     33 % Brazuelos, C.A.                                         Fla. Stat. § 222.25(4)                                              2,561.98                 5,668.69
                                                                     Assets:
                                                                     Banco Exterior Checking Acct #3207 =
                                                                     $1,407.48
                                                                     Equipment/Machinery:
                                                                     2 meat refrigetators $3,000
                                                                     2 cash registers $1,000
                                                                     1 glass refrigerator with 8 glass doors
                                                                     $6.500
                                                                     1 open refrigerator for produce exhibition
                                                                     $1.500
                                                                     5 stainless steal tables $500
                                                                     5 wood tables for food exhibition $500
                                                                     10 knifes for meat cutting $250
                                                                     5 cutting boards $150
                                                                     2 envoplast machines $300
                                                                     1 Meat mill $400
                                                                     Total: $14,100.00
                                                                     Inventory: $1,500.00
                                                                     Accounts Receivables: None
                                                                     Liabilities: None
                                                                     Total Value: $17,007.48
                                                                     TD Ameritrade Stock Account                                  Fla. Const. Art X, § 4(a)(2)                                        1,002.80                 1,003.10




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                     B6D (Official Form 6D) (12/07)Case          15-19728-AJC                                          Doc 1       Filed 05/29/15             Page 13 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $
                                                                                                                                                                                                                       Subtotal
                                                                            0 continuation sheets attached                                                                                                 (Total of this page) $                                                     $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                     B6E (Official Form 6E) (04/13) Case          15-19728-AJC                  Doc 1         Filed 05/29/15                Page 14 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                     Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                     B6F (Official Form 6F) (12/07) Case         15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 15 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                         Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 2001432371301000                                                                         Revolving Credit Card 12/14                                                    X
                                                                     Aa/cbna                                                                                              $0 Balance on Credit Report
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                        1.00
                                                                     ACCOUNT NO. 30252817                                                                                 Services Rendered 04/14
                                                                     Alliance One Receivables Management
                                                                     Po Box 2449
                                                                     Gig Harbor, WA 98335-2449

                                                                                                                                                                                                                                                                                      820.40
                                                                     ACCOUNT NO. 7015917                                                               J Collection Agency for Carmax Auto Finance (9799)                                                X
                                                                     American Coradius International LLC                                                 01/15
                                                                     2420 Sweet Home Rd Ste 150
                                                                     Amherst, NY 14228-2244

                                                                                                                                                                                                                                                                                        1.00
                                                                     ACCOUNT NO. 3499916481730523                                                    H Revolving Credit Card 01/11                                                                       X
                                                                     Amex                                                                              $0 Balance on Credit Report
                                                                     Po Box 297871
                                                                     Fort Lauderdale, FL 33329

                                                                                                                                                                                                                                                                                        1.00
                                                                                                                                                                                                                                            Subtotal
                                                                          11 continuation sheets attached                                                                                                                       (Total of this page) $                                823.40
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 16 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 3499919567457983                                                 H Revolving Credit Card 07/09-03/15
                                                                     Amex
                                                                     Po Box 297871
                                                                     Fort Lauderdale, FL 33329

                                                                                                                                                                                                                                                                                59,153.15
                                                                     ACCOUNT NO. 3499919602341773                                                 H Revolving Credit Card 08/09-07/13
                                                                     Amex
                                                                     Po Box 297871
                                                                     Fort Lauderdale, FL 33329
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                                                                                                                                                                                                                                                                                 2,435.00
                                                                     ACCOUNT NO. 37035368                                           X J Business Debt
                                                                     APZB Industries
                                                                     300 Ledgewood Place, #301
                                                                     Rockland, MA 02370

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 523234357372                                                     H Services Rendered 04/14
                                                                     AT & T                                                                         Account in Collection
                                                                     PO Box 536216
                                                                     Atlanta, GA 30353

                                                                                                                                                                                                                                                                                   271.75
                                                                     ACCOUNT NO. 129559681                                                       W Services Rendered 05/14
                                                                     AT&T U-Verse                                                                  Account in Collection
                                                                     PO Box 5014
                                                                     Carol Stream, IL 60197-5014

                                                                                                                                                                                                                                                                                   198.96
                                                                     ACCOUNT NO. 27797242                                                         H Services Rendered 10/14-12/14
                                                                     AT&T Wireless
                                                                     C/ O Diversified Consultant
                                                                     10550 Deerwood Park Blvd
                                                                     Jacksonville, FL 32256
                                                                                                                                                                                                                                                                                   494.09
                                                                     ACCOUNT NO. 61278834001                                                     W Medical Services 10/13-03/15
                                                                     Banfield Pet Hospital
                                                                     C/ O I C System Inc
                                                                     Po Box 64378
                                                                     Saint Paul, MN 55164
                                                                                                                                                                                                                                                                                   304.00
                                                                     Sheet no.       1 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             62,857.95
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 17 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 4264-2879-9608-6514                                              H Revolving Credit Card 03/08-03/15
                                                                     Bk Of Amer                                                                     Account in Collection
                                                                     Po Box 982235
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                 12,897.95
                                                                     ACCOUNT NO. 4264-2877-7953-7709                                             W Revolving Credit Card 05/13
                                                                     Bk Of Amer                                                                    Account in Collection
                                                                     Po Box 982235
                                                                     El Paso, TX 79998
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                                                                                                                                                                                                                                                                                 13,590.48
                                                                     ACCOUNT NO. 1001495426                                                       H Auto Repo 10/12-03/15
                                                                     Bmw Financial Services                                                         Account in Collection
                                                                     Po Box 3608
                                                                     Dublin, OH 43016

                                                                                                                                                                                                                                                                                 18,727.43
                                                                     ACCOUNT NO. 2014-015508-CA-01                                  X J Business Debt                                                                                                 X
                                                                     CAN Capital Asset Servicing, Inc.
                                                                     2015 Vaughn Rd NW Ste 500,
                                                                     Kennesaw, GA 30144-7831

                                                                                                                                                                                                                                                                                      1.00
                                                                     ACCOUNT NO. 7001062380406151                                                 H Revolving Credit Card 05/14                                                                       X
                                                                     Cap1/bstby                                                                     $0 Balance on Credit Report
                                                                     Po Box 5253
                                                                     Carol Stream, IL 60197

                                                                                                                                                                                                                                                                                      1.00
                                                                     ACCOUNT NO. 7204602944395310                                                 H Revolving Credit Card 03/13-03/14                                                                 X
                                                                     Cap1/cosco
                                                                     Po Box 30253
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                      1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xx-xx-3220                             X J Services Rendered
                                                                     Capital Asset Servicing                                            Business Debt
                                                                     C/ O Mateer Harbert Two Landmark Center
                                                                     225 E Robinson St PO Box 2854
                                                                     Orlando, FL 32802
                                                                                                                                                                                                                                                                                201,000.00
                                                                     Sheet no.       2 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $ 246,218.86
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 18 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 4621-9200-2016-3770                                              H Revolving Credit Card 03/12-03/15
                                                                     Capital Bank
                                                                     1 Church St
                                                                     Rockville, MD 20850

                                                                                                                                                                                                                                                                                   336.00
                                                                     ACCOUNT NO. 095629770                                                        H Collection Agency for Bk Of Amer (7709) 06/14                                                     X
                                                                     Capital Management Services, LP
                                                                     698 1/2 South Ogden Street
                                                                     Buffalo, NY 14206-2317
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 415285722                                                        H Revolving Credit Card 02/14-04/15
                                                                     Capital One                                                                    Account in Collection
                                                                     PO Box 71083
                                                                     Charlotte, NC 28272-1083

                                                                                                                                                                                                                                                                                 4,433.00
                                                                     ACCOUNT NO. 12395382                                                         H Auto Loan 10/12                                                                                   X
                                                                     Carmax Auto Finance                                                            $0 Balance on Credit Report
                                                                     225 Chastain Meadows Court
                                                                     Kennesaw, GA 30144

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 16903567                                                        W Auto Loan 02/14                                                                                    X
                                                                     Carmax Auto Finance                                                           $0 Balance on Credit Report
                                                                     225 Chastain Meadows Court
                                                                     Kennesaw, GA 30144

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 11199799                                                         H Auto Repo 11/10-03/15
                                                                     Carmax Auto Finance                                                            Account in Collection
                                                                     225 Chastain Meadows Court
                                                                     Kennesaw, GA 30144

                                                                                                                                                                                                                                                                                12,246.43
                                                                     ACCOUNT NO. 17005538                                                        W Auto Repo 02/14-03/15
                                                                     Carmax Auto Finance                                                           Account in Collection
                                                                     225 Chastain Meadows Court
                                                                     Kennesaw, GA 30144

                                                                                                                                                                                                                                                                                 7,083.60
                                                                     Sheet no.       3 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             24,102.03
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 19 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 00451757165004                                     X J Business Debt
                                                                     Chase Bank
                                                                     PO Box 659732
                                                                     San Antonio, TX 78265

                                                                                                                                                                                                                                                                                102,161.41
                                                                     ACCOUNT NO. 426684103393                                                     H Revolving Credit Card 01/13                                                                       X
                                                                     Chase Card                                                                     $0 Balance on Credit Report
                                                                     201 N. Walnut St//de1-1027
                                                                     Wilmington, DE 19801
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                                                                                                                                                                                                                                                                                      1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Checksystems
                                                                     7805 Hudson Rd
                                                                     Woodbury, MN 55125

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Child Support Enforcemment
                                                                     PO Box 8030
                                                                     Tallahassee, FL 32314-8030

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO. 2001432371301                                                    H Revolving Credit Card 11/14-04/15
                                                                     Citibank (South Dakota), N,A.                                                  Account in Collection
                                                                     7920 NW 110 Street
                                                                     Kansas City, MO 64153

                                                                                                                                                                                                                                                                                  2,854.00
                                                                     ACCOUNT NO. 2092                                                               J Revolving Credit Card                                                             X
                                                                     Citibank (South Dakota), N,A.
                                                                     7920 NW 110 Street
                                                                     Kansas City, MO 64153

                                                                                                                                                                                                                                                                                   641.97
                                                                     ACCOUNT NO. 7001062380406151                                                 H Revolving Credit Card 12/14
                                                                     Citibank (South Dakota), N,A.                                                  Account in Collection
                                                                     7920 NW 110 Street
                                                                     Kansas City, MO 64153

                                                                                                                                                                                                                                                                                  2,355.39
                                                                     Sheet no.       4 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $ 108,013.77
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 20 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2608                                                                                  Revolving Credit Card 02/15
                                                                     Citibank (South Dakota), N,A.                                                                     Account in Collection
                                                                     7920 NW 110 Street
                                                                     Kansas City, MO 64153

                                                                                                                                                                                                                                                                                 1,835.27
                                                                     ACCOUNT NO. 691806944                                                       W REVOLVING ACCOUNT OPENED 8/2013
                                                                     Credit First N A
                                                                     6275 Eastland Rd
                                                                     Brookpark, OH 44142
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                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 505418                                                           H Collection Agency for Miami Dade Expressway                                                       X
                                                                     Credit Protection Association, L.P.                                            Authority (5418) 02/15
                                                                     Po Box 865005
                                                                     Orlando, FL 32886-0001

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Department Of The Treasury
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114-0326

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 6011-0072-9299-7524                                                                   Revolving Credit Card 10/12-03/15
                                                                     Discover Fin Svcs Llc                                                                             Account in Collection
                                                                     Po Box15316
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                 2,882.16
                                                                     ACCOUNT NO. xxx-xx-3383                                        X J Business Debt
                                                                     EGM Holdings Group, INc.
                                                                     4920 NW 165th St.
                                                                     Miami Lakes, FL 33014

                                                                                                                                                                                                                                                                                44,940.00
                                                                     ACCOUNT NO. 2014-015508-CA-01                                  X J Services Rendered
                                                                     Element Financial Corp                                             Business Debt
                                                                     655 Business Center Dr
                                                                     Horsham, PA 19044

                                                                                                                                                                                                                                                                                10,038.87
                                                                     Sheet no.       5 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             59,697.30
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 21 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 101115861                                                        H Collection Agency for AT & T (7372) 04/14                                                         X
                                                                     Enhanced Recovery Co L
                                                                     8014 Bayberry Rd
                                                                     Jacksonville, FL 32256

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Equifax
                                                                     PO Box 740241
                                                                     Atlanta, GA 30374-0241
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                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. Element Financial Corp                                             J Attorney for Plaintiff Element Financial Corp 08/13                                             X
                                                                     Eric B Zwiebel, Esq
                                                                     8751 W Broward Blvd, # 100
                                                                     Plantation, FL 33324

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Experian
                                                                     PO Box 2002
                                                                     Allen, TX 75013-2002

                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 27404701                                                           J Collection Agency for Carmax Auto Finance (5538)                                                X
                                                                     Firstsource Advantage LLC                                                        01/15
                                                                     205 Bryant Woods S
                                                                     Amherst, NY 14228-3609

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 26840860                                                         H Collection Agency for Bmw Financial Services                                                      X
                                                                     Firstsource Advantage LLC                                                      (5426) 02/15
                                                                     205 Bryant Woods S
                                                                     Amherst, NY 14228-3609

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 26330426                                                           J Collection Agency for Carmax Auto Finance (9799)                                                X
                                                                     Firstsource Advantage LLC                                                        06/14
                                                                     205 Bryant Woods S
                                                                     Amherst, NY 14228-3609

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       6 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                  5.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 22 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 26840860                                                         H Collection Agency for Citibank (South Dakota),                                                    X
                                                                     Firstsource Advantage LLC                                                      N,A. (5426) 12/14
                                                                     205 Bryant Woods S
                                                                     Amherst, NY 14228-3609

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Florida Department Of Revenue
                                                                     PO Box 6688
                                                                     Tallahassee, FL 32314
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                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. 22664283                                                        W Services Rendered
                                                                     Florida Department Of Transportation
                                                                     Violation Enforcement Section
                                                                     Po Box 105477
                                                                     Atlanta, GA 30348
                                                                                                                                                                                                                                                                                     3.50
                                                                     ACCOUNT NO. 44645815                                                         H Services Rendered 03/15
                                                                     Florida Power & Light Company
                                                                     C/ O Credit Coll
                                                                     Po Box 9136
                                                                     Needham, MA 02494
                                                                                                                                                                                                                                                                                    75.71
                                                                     ACCOUNT NO. 6008895344903033                                                 H Revolving Credit Card 02/14-04/15
                                                                     Ge Capital Retail Bank                                                         Account in Collection
                                                                     PO BOX 965033
                                                                     Orlando, FL 32896-5033

                                                                                                                                                                                                                                                                                 1,381.26
                                                                     ACCOUNT NO. 77964551001                                                     W Collection Agency for AT&T U-Verse (9681) 01/15-                                                   X
                                                                     I C System Inc                                                                03/15
                                                                     Po Box 64378
                                                                     Saint Paul, MN 55164

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Internal Revenue Service
                                                                     Centralized Insolvency Operation
                                                                     P.O. Box 7346
                                                                     Philadelphia, PA 19101-7346
                                                                                                                                                                                                                                                                                     0.00
                                                                     Sheet no.       7 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              1,462.47
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 23 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2014-003108-CA-01                                  X J Services Rendered
                                                                     L&W Supply Corp                                                    Business debt
                                                                     21195 Boca Rio Rd
                                                                     Boca Raton, FL 33433

                                                                                                                                                                                                                                                                                38,963.68
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Law Office Of Mitchell A Chester, P.A
                                                                     7951 SW 6th St, # 112
                                                                     Plantation, FL 33324
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                                                                                                                                                                                                                                                                                     0.00
                                                                     ACCOUNT NO. ACC 019269416                                                    H Collection Agency for Citibank (South Dakota),                                                    X
                                                                     LTD Financial Services, L.P.                                                   N,A. (1301) 08/14
                                                                     7322 Southwest Fwy Ste 1600
                                                                     Houston, TX 77074-2053

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 2013-014545-CC-05                                                  J Attorney for Plaintiff Marjam Supply Of Florida                                                 X
                                                                     Malka & Kravitz, P.A                                                             07/13
                                                                     1300 Sawgrass Corp Parkway, # 100
                                                                     Ft Lauderdale, FL 33323

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 2013-014545-CC-05                                  X J Services Rendered
                                                                     Marjam Supply Of Florida                                           Business Debt
                                                                     885 Conklin St
                                                                     Farmingdale, NY 11735

                                                                                                                                                                                                                                                                                 8,972.22
                                                                     ACCOUNT NO. 24055361                                                                              Collection Agency for Citibank (South Dakota),                                 X
                                                                     Mccarthy, Burgess & Wolff                                                                         N,A. (2608) 02/15
                                                                     26000 Cannon Rd
                                                                     Cleveland, OH 44146

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 505418                                                           H Services Rendered 02/15
                                                                     Miami Dade Expressway Authority                                                Account in Collection
                                                                     3790 NW 21st St
                                                                     Miami, FL 33142

                                                                                                                                                                                                                                                                                    35.24
                                                                     Sheet no.       8 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             47,974.14
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 24 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 8563419466                                                       H Collection Agency for Citibank (South Dakota),                                                    X
                                                                     Midland Funding                                                                N,A. (6151) 12/14
                                                                     8875 Aero Dr Ste 200
                                                                     San Diego, CA 92123

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 1795708                                                          H Installment Loan 07/10-09/13
                                                                     Northern Leasing Syste
                                                                     132 W 31st St Fl 14
                                                                     New York, NY 10001
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                                                                                                                                                                                                                                                                                 1,881.36
                                                                     ACCOUNT NO. F49516090                                                        H Collection Agency for Td Auto Finance (9450)                                                      X
                                                                     Northland Group Inc.                                                           02/15
                                                                     PO Box 390905
                                                                     Minneapolis, MN 55439-0905

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 6011-0072-9299-7524                                              H Collection Agency for Discover Fin Svcs Llc (7524)                                                X
                                                                     Northstar Location Services, LLC                                               01/15
                                                                     Financial Services Department
                                                                     PO BOX 2157
                                                                     Williamsville, NY 14231-2157
                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 2001432371301                                                    H Collection Agency for Citibank (South Dakota),                                                    X
                                                                     Portfolio Recovery Ass                                                         N,A. (1301) 11/14-04/15
                                                                     287 Independence
                                                                     Virginia Beach, VA 23462

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 6008895344903033                                                 H Collection Agency for Ge Capital Retail Bank                                                      X
                                                                     Portfolio Recovery Ass                                                         (3033) 02/14-04/15
                                                                     287 Independence
                                                                     Virginia Beach, VA 23462

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 2014-003108-CA-01                                  X J Attorney for Plaintiff L&W Supply Corp 02/14                                                                  X
                                                                     Richard P Joblove, Esq
                                                                     12372 SW 82nd Ave
                                                                     Miami, FL 33156

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.       9 of      11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              1,887.36
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15              Page 25 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 110000002291967                                                  H Auto Loan 03/11                                                                                   X
                                                                     Santander Served Self                                                          $0 Balance on Credit Report
                                                                     Po Box 19060
                                                                     Mobile, AL 36691

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                            J Breach of Contract
                                                                     Signature At Doral Apartments
                                                                     11481 NW 41th St.
                                                                     Doral, FL 33178
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                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 21882497                                                         H Collection Agency for Bk Of Amer (6514) 12/14                                                     X
                                                                     Sunrise Credit Services, Inc.
                                                                     PO Box 9100
                                                                     Farmingdale, NY 11735-9100

                                                                                                                                                                                                                                                                                     1.00
                                                                     ACCOUNT NO. 6019183235536513                                                W Revolving Credit Card 11/12-03/15
                                                                     Syncb/care Credit
                                                                     950 Forrer Blvd
                                                                     Kettering, OH 45420

                                                                                                                                                                                                                                                                                 2,597.00
                                                                     ACCOUNT NO. 1100519450                                                                            Auto Loan 10/12-06/14
                                                                     Td Auto Finance                                                                                   Account in Collection
                                                                     Po Box 9223
                                                                     Farmington Hills, MI 48333

                                                                                                                                                                                                                                                                                15,728.80
                                                                     ACCOUNT NO. 6035322138042092                                                                      Revolving Credit Card 11/14
                                                                     Thd/cbna
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                   641.97
                                                                     ACCOUNT NO. 415285722                                                        H Collection Agency for Capital One (5722) 02/14-                                                   X
                                                                     The Bureaus Inc                                                                04/15
                                                                     1717 Central St
                                                                     Evanston, IL 60201

                                                                                                                                                                                                                                                                                     1.00
                                                                     Sheet no.     10 of       11 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             18,971.77
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.   15-19728-AJC                                             Doc 1     Filed 05/29/15             Page 26 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                                     Case No.
                                                                                                                             Debtor(s)                                                                                                             (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                  OR COMMUNITY




                                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                  DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                            AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                       OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                           CLAIM




                                                                     ACCOUNT NO. 4510-4600-0293-7507                                              H Revolving Credit Card 02/10-04/15
                                                                     Toyota Fsb
                                                                     Po Box 108
                                                                     Saint Louis, MO 63166

                                                                                                                                                                                                                                                                                769.00
                                                                     ACCOUNT NO. xxx-xx-3383 xxx-xx-3220                                                               Notice Only
                                                                     Transunion
                                                                     PO Box 1000
                                                                     Chester, PA 19016-1000
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                                                                                                                                                                                                                                                                                  0.00
                                                                     ACCOUNT NO. 321863080105                                                     H Collection Agency for Discover Fin Svcs Llc (7524)                                             X
                                                                     United Recovery Systems                                                        04/14
                                                                     PO BOX 722910
                                                                     Houston, TX 77272-2910

                                                                                                                                                                                                                                                                                  1.00
                                                                     ACCOUNT NO. 2013-014545-CC-05                                                  J Attorney in Lawsuit                                                                          X
                                                                     Wargo & French, Llp
                                                                     201 S Biscayne Blvd, # 1000
                                                                     Miami, FL 33131

                                                                                                                                                                                                                                                                                  1.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.     11 of       11 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                               771.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 572,785.05
                                                                     B6G (Official Form 6G) (12/07)Case          15-19728-AJC                  Doc 1          Filed 05/29/15               Page 27 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                     Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     B6H (Official Form 6H) (12/07)Case           15-19728-AJC                  Doc 1          Filed 05/29/15                Page 28 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                                      Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     ES & C Royal International Investment                                                     EGM Holdings Group, INc.
                                                                     Corp                                                                                      4920 NW 165th St.
                                                                     4508 NW 114th Ave. #2107                                                                  Miami Lakes, FL 33014
                                                                     Doral, FL 33179-8000
                                                                     Solid Construction General Contractor Co                                                  Capital Asset Servicing
                                                                     6795 NW 87th Ave                                                                          C/ O Mateer Harbert Two Landmark Center
                                                                     Miami, FL 33178                                                                           225 E Robinson St PO Box 2854
                                                                                                                                                               Orlando, FL 32802
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                                                                                                                                                               CAN Capital Asset Servicing, Inc.
                                                                                                                                                               2015 Vaughn Rd NW Ste 500,
                                                                                                                                                               Kennesaw, GA 30144-7831

                                                                                                                                                               Element Financial Corp
                                                                                                                                                               655 Business Center Dr
                                                                                                                                                               Horsham, PA 19044

                                                                                                                                                               Marjam Supply Of Florida
                                                                                                                                                               885 Conklin St
                                                                                                                                                               Farmingdale, NY 11735

                                                                                                                                                               L&W Supply Corp
                                                                                                                                                               21195 Boca Rio Rd
                                                                                                                                                               Boca Raton, FL 33433

                                                                                                                                                               Richard P Joblove, Esq
                                                                                                                                                               12372 SW 82nd Ave
                                                                                                                                                               Miami, FL 33156

                                                                                                                                                               Chase Bank
                                                                                                                                                               PO Box 659732
                                                                                                                                                               San Antonio, TX 78265

                                                                                                                                                               APZB Industries
                                                                                                                                                               300 Ledgewood Place, #301
                                                                                                                                                               Rockland, MA 02370
                                                                                                          Case 15-19728-AJC                      Doc 1       Filed 05/29/15             Page 29 of 55
                                                                                    Nunez, Enrique & Matheus, Sybel
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1           Enrique
                                                                                         ___         Nunez
                                                                                             ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                           F irst Name                Middle Name                Last Name

                                                                      Debtor 2             Sybel
                                                                                           ___      Matheus
                                                                                               ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spous e, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for t he: Southern District of Florida

                                                                      Case num ber         ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (I f known)
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition
                                                                                                                                                                                        chapter 13 income as of the following date:
                                                                                                                                                                                        ________________
                                                                     Official Form 6I                                                                                                   MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                            12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:            Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                                Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional           Employment status                    Employed                                           Employed
                                                                            employers.                                                                  Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                   Occupation                     Owner
                                                                                                                                                  __________________________________                Co-Owner
                                                                                                                                                                                                    __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                   Employer’s name                Brazuelos, C.A. ________________
                                                                                                                                                  __________________                                Brazuelos, C.A.
                                                                                                                                                                                                    __________________________________


                                                                                                                   Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                   Number Street                                     Number     Street

                                                                                                                                                 __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                 ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                 __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                   Cit y              State   ZIP C ode              City                    State ZIP C ode

                                                                                                                   How long employed there?            1_______
                                                                                                                                                         years and 8 months                          _______
                                                                                                                                                                                                     11 months


                                                                      Part 2:            Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                               For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                     non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.              2.
                                                                                                                                                                                    0.00
                                                                                                                                                                              $___________                     0.00
                                                                                                                                                                                                        $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                  3.     + $___________
                                                                                                                                                                                    0.00            +          0.00
                                                                                                                                                                                                        $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                             4.           0.00
                                                                                                                                                                              $__________                      0.00
                                                                                                                                                                                                        $____________



                                                                     Official Form 6I                                                         Schedule I: Your Income                                                               page 1
                                                                                                               Case 15-19728-AJC                                Doc 1             Filed 05/29/15            Page 30 of 55
                                                                     Debtor 1             Enrique
                                                                                         ___          Nunez
                                                                                             _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                                                                                                   $___________                      0.00
                                                                                                                                                                                                                              $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +   $_____________
                                                                                                                                                                                                                                    0.00
                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.     $____________
                                                                                                                                                                                                          0.00               $_____________
                                                                                                                                                                                                                                    0.00

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
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                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                       3,011.51
                                                                                                                                                                                                  $____________                    250.00
                                                                                                                                                                                                                             $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                                                                                                                                                                    0.00
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                           0.00            + $_____________
                                                                                                                                                                                                                                    0.00
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          3,011.51
                                                                                                                                                                                                  $____________                    250.00
                                                                                                                                                                                                                             $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.        3,011.51
                                                                                                                                                                                                  $___________       +               250.00 = $_____________
                                                                                                                                                                                                                              $_____________       3,261.51

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        3,261.51
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                                             Case 15-19728-AJC                      Doc 1       Filed 05/29/15            Page 31 of 55
                                                                                     Nunez, Enrique & Matheus, Sybel
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Enrique
                                                                                            ___          Nunez
                                                                                                _______ ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                              First Name                 Middle Name                Last Name                       Check if this is:
                                                                          Debtor 2            Sybel
                                                                                              ___       Matheus
                                                                                                  ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                                                                                                                                        An amended filing
                                                                          (Spous e, if filing) First Name                Middle Name                Last Name
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: Southern District of Florida                                        expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber        ___ ____ _____ ______ _____ _____ ______ _______ __                                       MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                              No
                                                                                              Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                   Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         Daughter
                                                                                                                                                                _________________________                 7
                                                                                                                                                                                                          ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                Son
                                                                                                                                                                _________________________                 6
                                                                                                                                                                                                          ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                 _________________________                ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                 _________________________                ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                 _________________________                ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:             Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.    The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                                                                            $_____________________
                                                                                                                                                                                                                   600.00
                                                                            any rent for the ground or lot.                                                                                         4.

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            100.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.            50.00
                                                                                                                                                                                                            $_____________________

                                                                          Official Form 6J                                                  Schedule J: Your Expenses                                                           page 1
                                                                                                           Case 15-19728-AJC                    Doc 1         Filed 05/29/15     Page 32 of 55

                                                                      Debtor 1            Enrique
                                                                                          ___         Nunez
                                                                                              _______ ____ _____ ______ _____ ____ _______ ____ _____ _____             Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                        Your expenses

                                                                                                                                                                                                       $_____________________
                                                                                                                                                                                                               0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                         5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                            6a.            50.00
                                                                                                                                                                                                       $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                          6b.            10.00
                                                                                                                                                                                                       $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                            6c.             0.00
                                                                                                                                                                                                       $_____________________

                                                                             6d.                     See Schedule Attached
                                                                                     Other. Specify: _______________________________________________                                           6d.            50.00
                                                                                                                                                                                                       $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                     7.             800.00
                                                                                                                                                                                                       $_____________________

                                                                      8.    Childcare and children’s education costs                                                                           8.             350.00
                                                                                                                                                                                                       $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                                9.             150.00
                                                                                                                                                                                                       $_____________________
                                                                     10.    Personal care products and services                                                                                10.            150.00
                                                                                                                                                                                                       $_____________________
                                                                     11.    Medical and dental expenses                                                                                        11.     $_____________________
                                                                                                                                                                                                              240.00
                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                              250.00
                                                                                                                                                                                                       $_____________________
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                                                                            Do not include car payments.                                                                                       12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                                13.            200.00
                                                                                                                                                                                                       $_____________________
                                                                     14.     Charitable contributions and religious donations                                                                  14.     $_____________________
                                                                                                                                                                                                              100.00
                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                            15a .           0.00
                                                                                                                                                                                                       $_____________________
                                                                             15b .   Health insurance                                                                                          15b .           0.00
                                                                                                                                                                                                       $_____________________
                                                                             15c.    Vehicle insurance                                                                                         15c.            0.00
                                                                                                                                                                                                       $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                          15d .           0.00
                                                                                                                                                                                                       $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                       $_____________________
                                                                             Specify: ________________________________________________________                                                 16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                                17a.            0.00
                                                                                                                                                                                                       $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                                17b .           0.00
                                                                                                                                                                                                       $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                             17c.            0.00
                                                                                                                                                                                                       $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                             17d .           0.00
                                                                                                                                                                                                       $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                       $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                     18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                                0.00
                                                                                                                                                                                                       $_____________________
                                                                            Specify:_______________________________________________________                                                     19.


                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                              20 a.            0.00
                                                                                                                                                                                                       $_____________________

                                                                             20b .   Real estate taxes                                                                                        20b .    $_____________________
                                                                                                                                                                                                               0.00
                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                             20c.             0.00
                                                                                                                                                                                                       $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                                 20d .    $_____________________
                                                                                                                                                                                                               0.00
                                                                             20e .   Homeowner’s association or condominium dues                                                              20e .    $_____________________
                                                                                                                                                                                                               0.00


                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                              page 2
                         3,638.49
                                                                                                        Case 15-19728-AJC                    Doc 1         Filed 05/29/15     Page 33 of 55

                                                                      Debtor 1          Enrique
                                                                                       ___          Nunez
                                                                                           _______ ____ _____ ______ _____ ____ _______ ____ _____ _____             Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                       First Name     Middle Name         Last Name




                                                                     21.     Other. Specify: ________________________________
                                                                                             See Schedule Attached           _________________                                             21 .   +$_____________________
                                                                                                                                                                                                         150.00

                                                                     22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         3,250.00
                                                                                                                                                                                                    $_____________________
                                                                            The result is your monthly expenses.                                                                           22 .




                                                                     23.   Calculate your monthly net income.
                                                                                                                                                                                                          3,261.51
                                                                                                                                                                                                     $_____________________
                                                                           23a.   Copy line 12 (your combined monthly income) from Schedule I.                                            23a.

                                                                           23b.   Copy your monthly expenses from line 22 above.                                                          23b .   – $_____________________
                                                                                                                                                                                                          3,250.00

                                                                           23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                            11.51
                                                                                                                                                                                                     $_____________________
                                                                                  The result is your monthly net income.                                                                  23c.




                                                                     24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                            For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                            mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                               No.
                                                                               Yes.    None




                                                                           Official Form 6J                                           Schedule J: Your Expenses                                                              page 3
                                                                                            Case 15-19728-AJC            Doc 1    Filed 05/29/15     Page 34 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                            Case No.
                                                                                                             Debtor(s)

                                                                                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                  Continuation Sheet - Page 1 of 1

                                                                     Other Utilities (DEBTOR)
                                                                     Cell Phone                                                                                       20.00
                                                                     Cable                                                                                            10.00
                                                                     Internet                                                                                         20.00

                                                                     Other Expenses (DEBTOR)
                                                                     Vehicle Maintenance                                                                             100.00
                                                                     Tuition                                                                                          50.00
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                                                                                               Case 15-19728-AJC             Doc 1      Filed 05/29/15     Page 35 of 55
                                                                                                                     United States Bankruptcy Court
                                                                                                                       Southern District of Florida

                                                                     IN RE:                                                                                 Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                        Chapter 7
                                                                                                              Debtor(s)

                                                                                                                BUSINESS INCOME AND EXPENSES
                                                                     FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                     operation.)

                                                                     PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                       1. Gross Income For 12 Months Prior to Filing:                                        $

                                                                     PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                       2. Gross Monthly Income:                                                                                    $   6,900.00

                                                                     PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                       3.   Net Employee Payroll (Other Than Debtor)                                         $
                                                                       4.   Payroll Taxes                                                                    $
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                                                                       5.   Unemployment Taxes                                                               $
                                                                       6.   Worker’s Compensation                                                            $
                                                                       7.   Other Taxes                                                                      $
                                                                       8.   Inventory Purchases (Including raw materials)                                    $
                                                                       9.   Purchase of Feed/Fertilizer/Seed/Spray                                           $
                                                                      10.   Rent (Other than debtor’s principal residence)                                   $
                                                                      11.   Utilities                                                                        $
                                                                      12.   Office Expenses and Supplies                                                     $
                                                                      13.   Repairs and Maintenance                                                          $
                                                                      14.   Vehicle Expenses                                                                 $
                                                                      15.   Travel and Entertainment                                                         $
                                                                      16.   Equipment Rental and Leases                                                      $
                                                                      17.   Legal/Accounting/Other Professional Fees                                         $
                                                                      18.   Insurance                                                                        $
                                                                      19.   Employee Benefits (e.g., pension, medical, etc.)                                 $
                                                                      20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                            Business Debts (Specify):                                                        $




                                                                      21. Other (Specify):                                                                   $          3,638.49
                                                                            See Continuation Sheet




                                                                      22. Total Monthly Expenses (Add items 3-21)                                                                  $   3,638.49

                                                                     PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                      23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                                $   3,261.51
                                                                                           Case 15-19728-AJC               Doc 1     Filed 05/29/15   Page 36 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                             Case No.
                                                                                                              Debtor(s)

                                                                                                             BUSINESS INCOME AND EXPENSES
                                                                                                                   Continuation Sheet - Page 1 of 1

                                                                     Other:
                                                                     Cost Of Goods                                        3,308.73
                                                                     Professional Fees                                       15.40
                                                                     Salaries                                               157.40
                                                                     Rent                                                    56.44
                                                                     Security                                                64.19
                                                                     Coupons/Discounts                                       36.33
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                                                                     B6 Declaration (Official Form 6Case     15-19728-AJC
                                                                                                     - Declaration) (12/07)                  Doc 1        Filed 05/29/15              Page 37 of 55
                                                                     IN RE Nunez, Enrique & Matheus, Sybel                                                                               Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      29 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: May 29, 2015                                   Signature: /s/ Enrique Nunez
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Enrique Nunez

                                                                     Date: May 29, 2015                                   Signature: /s/ Sybel Matheus
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Sybel Matheus
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                     B7 (Official Form 7) (04/13)   Case 15-19728-AJC                   Doc 1        Filed 05/29/15            Page 38 of 55
                                                                                                                              United States Bankruptcy Court
                                                                                                                               Southern District of Florida

                                                                     IN RE:                                                                                                       Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                                              Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 14,850.00 2014 Individual Income Tax Returns (W)
                                                                                 20,592.00 2014 Individual Income Tax Returns (H)
                                                                                 88,064.00 2013 Individual Income Tax Returns (H)
                                                                                 15,776.00 2013 Individual Income Tax Returns (W)
                                                                                 26,600.00 2015 YTD Gross Income from Business (H)
                                                                                  1,000.00 2015 YTD Income from Employment (W)

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  1,320.00 2014 YTD Income from Food Stamps (W)
                                                                                                    Case 15-19728-AJC                   Doc 1        Filed 05/29/15            Page 39 of 55

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
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                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                  NATURE OF PROCEEDING                                AND LOCATION                               DISPOSITION
                                                                     Can Capital Asset Servicing Inc. Business Debt                                       In the County Court, In and For            pending
                                                                     vs. Solid Construction General                                                       Miami Dade County, FL
                                                                     Contractor co
                                                                     Case No. 14-15508 CA 01
                                                                     Element Financial Corp vs. Solid Business Debt                                       In the County Court, In and For            Final Judgment entered
                                                                     Construction General Contractor,                                                     Miami Dade County, FL                      03/15
                                                                     Corp
                                                                     Case No. 13-17158 CC 05
                                                                     Marjam Supply of Florida, LLC              Business Debt                             In the County Court, In and For            Final Judgment entered
                                                                     vs. Solid Construction General                                                       Miami Dade County, Fl                      11/2014
                                                                     Contractor Corp
                                                                     Case No. 13-14545 CC 05
                                                                     L & W Supply Corp. vs. Solid    Business Debt                                        In the Circuit Court, In and For           Final Judgment entered
                                                                     Construction General Contractor                                                      Miami Dade County, FL                      10/14
                                                                     Corp.
                                                                     Case No. 14-3108 CA 04
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     Td Auto Finance                                                  05/2014                             2012 Hyundai Sonata Hybrid
                                                                     Po Box 9223
                                                                     Farmington Hills, MI 48333
                                                                     Carmax Auto Finance                                              05/2014                             2010 Toyota Corolla
                                                                     225 Chastain Meadows Court
                                                                                                    Case 15-19728-AJC                    Doc 1        Filed 05/29/15            Page 40 of 55
                                                                     Kennesaw, GA 30144

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
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                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Timothy S Kingcade                                                03/2015 to 05/2015                                                   3,325.00
                                                                     1370 Coral Way
                                                                     Miami, FL 33145-0000
                                                                     Attorney's fees $2,750
                                                                     Court filing fees $335
                                                                     Office cost $65
                                                                     Credit report cost $125
                                                                     Budget briefing session $30
                                                                     Accurint report $20

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
                                                                     ADDRESS                                                          NAME USED                                              DATES OF OCCUPANCY
                                                                     11601 Lakeside Drive, #8109, Doral, FL 33178                     same                                                   08/2013 to 04/2014
                                                                     10121 NW 52nd Terr., Doral, FL 33178                             same                                                   05/2012 to 05/2013

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
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                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
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                                                                                                                 LAST FOUR DIGITS
                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                     NATURE OF             BEGINNING AND
                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                           BUSINESS              ENDING DATES
                                                                     Solid Construction General                                      6795 NW 87th Ave                                  Construction          10/07 to 09/13
                                                                     Contractor Co                                                   Miami, FL 33178-0000
                                                                     Self-Employed (W)                                                                                                 Sales                 01/2013 to
                                                                                                                                                                                                             03/2014
                                                                     ES & C Royal International                  XX-XXXXXXX                   Corp                                     Vehicle Export/       02/08 to 09/2014
                                                                     Investment                                                               4508 NW 114th Ave. #2107                 Import
                                                                                                                                              Doral, FL 33179-8000
                                                                     Galactic Communications, LLC                XX-XXXXXXX                   6795 NW 87th Ave.                        Cell Phones           06/12 to 12/2013
                                                                                                                                              Miami, FL 33178-0000                     Sales and
                                                                                                                                                                                       Repairs
                                                                     Brazuelos, C.A.                                                          Venezuela,                               Supermarket (H) 09/2013 to
                                                                                                                                                                                                       present
                                                                     Brazuelos, C.A.                                                          Venezuela,                               Supervisor-1099
                                                                                                                                                                                       Employee (W)
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
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                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                             and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                             the debtor within the two years immediately preceding the commencement of this case.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
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                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                             or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                             of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                             preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                             bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                             purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                             has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: May 29, 2015                                Signature /s/ Enrique Nunez
                                                                                                                       of Debtor                                                                                  Enrique Nunez

                                                                     Date: May 29, 2015                                Signature /s/ Sybel Matheus
                                                                                                                       of Joint Debtor                                                                            Sybel Matheus
                                                                                                                       (if any)

                                                                                                                                         0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                     B8 (Official Form 8) (12/08)
                                                                                                                          United States Bankruptcy Court
                                                                                                                           Southern District of Florida

                                                                     IN RE:                                                                                        Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                               Chapter 7
                                                                                                                   Debtor(s)

                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                     estate. Attach additional pages if necessary.)
                                                                      Property No. 1
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:

                                                                      Property will be (check one):
                                                                          Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
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                                                                          Claimed as exempt            Not claimed as exempt

                                                                      Property No. 2 (if necessary)
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:

                                                                      Property will be (check one):
                                                                          Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt            Not claimed as exempt
                                                                     PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                     additional pages if necessary.)
                                                                      Property No. 1
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No

                                                                      Property No. 2 (if necessary)
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No
                                                                           continuation sheets attached (if any)
                                                                     I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                     personal property subject to an unexpired lease.

                                                                     Date:           May 29, 2015                       /s/ Enrique Nunez
                                                                                                                        Signature of Debtor
                                                                                                                        /s/ Sybel Matheus
                                                                                                                        Signature of Joint Debtor
                                                                                              Case 15-19728-AJC            Doc 1     Filed 05/29/15        Page 45 of 55
                                                                                                                   United States Bankruptcy Court
                                                                                                                     Southern District of Florida

                                                                     IN RE:                                                                                  Case No.
                                                                     Nunez, Enrique & Matheus, Sybel                                                         Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 29, 2015                     Signature: /s/ Enrique Nunez
                                                                                                                        Enrique Nunez                                                            Debtor



                                                                     Date: May 29, 2015                     Signature: /s/ Sybel Matheus
                                                                                                                        Sybel Matheus                                                Joint Debtor, if any
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   Aa/cbna
   Po Box 6497
   Sioux Falls, SD     57117


   Alliance One Receivables Management
   Po Box 2449
   Gig Harbor, WA 98335-2449


   American Coradius International LLC
   2420 Sweet Home Rd Ste 150
   Amherst, NY 14228-2244


   American Express
   PO Box 3001
   16 General Warren Blvd
   Malvern, PA 19355


   Amex
   Po Box 297871
   Fort Lauderdale, FL       33329


   Amex/american Express
   PO Box 3001
   16 General Warren Blvd
   Malvern, PA 19355


   APZB Industries
   300 Ledgewood Place, #301
   Rockland, MA 02370


   AT & T
   PO Box 536216
   Atlanta, GA 30353
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   AT&T U-Verse
   PO Box 5014
   Carol Stream, IL     60197-5014


   AT&T Wireless
   C/ O Diversified Consultant
   10550 Deerwood Park Blvd
   Jacksonville, FL 32256


   AT&T Wireless
   PO Box 536216
   Atlanta, GA 30353-8695


   Banfield Pet Hospital
   10540 SW Village Pkwy
   Port St Lucie, FL 34987


   Banfield Pet Hospital
   C/ O I C System Inc
   Po Box 64378
   Saint Paul, MN 55164


   Bank of America, N.A
   Northwest Legal Order Proces Ny5010207
   5701 Horatio St
   Utica, NY 13502-1024


   Bk Of Amer
   Po Box 982235
   El Paso, TX 79998


   Bmw Financial Services
   Po Box 3608
   Dublin, OH 43016
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   Bmw Financial Services
   Attn: Bankruptcy Department
   Po Box 3608
   Dublin, OH 43016


   Caf/carmax Auto Finance
   Attn: Bankruptcy
   Po Box 440609
   Kennesaw, GA 30160


   CAN Capital Asset Servicing, Inc.
   2015 Vaughn Rd NW Ste 500,
   Kennesaw, GA 30144-7831


   Cap1/bstby
   Po Box 5253
   Carol Stream, IL     60197


   Cap1/cosco
   Po Box 30253
   Salt Lake City, UT        84130


   Capital Asset Servicing
   C/ O Mateer Harbert Two Landmark Center
   225 E Robinson St PO Box 2854
   Orlando, FL 32802


   Capital Bank
   1 Church St
   Rockville, MD     20850


   Capital Management Services, LP
   698 1/2 South Ogden Street
   Buffalo, NY 14206-2317
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   Capital One
   PO Box 71083
   Charlotte, NC     28272-1083


   Carmax Auto Finance
   225 Chastain Meadows Court
   Kennesaw, GA 30144


   Chase Bank
   PO Box 659732
   San Antonio, TX     78265


   Chase Card
   201 N. Walnut St//de1-1027
   Wilmington, DE 19801


   Checksystems
   7805 Hudson Rd
   Woodbury, MN 55125


   Child Support Enforcemment
   PO Box 8030
   Tallahassee, FL 32314-8030


   Citi Advantage
   Citi Bank Bankruptcy
   Po Box 6500
   Sioux Falls, SD 57117


   Citibank (South Dakota), N,A.
   7920 NW 110 Street
   Kansas City, MO 64153


   Credit First N A
   6275 Eastland Rd
   Brookpark, OH 44142
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   Credit First/cfna
   BK13 Credit Operations
   Po Box 818011
   Cleveland, OH 44181


   Credit Protection Association, L.P.
   Po Box 865005
   Orlando, FL 32886-0001


   Department Of The Treasury
   PO Box 21126
   Philadelphia, PA 19114-0326


   Discover Fin Svcs Llc
   Po Box15316
   Wilmington, DE 19850


   EGM Holdings Group, INc.
   4920 NW 165th St.
   Miami Lakes, FL 33014


   Element Financial Corp
   655 Business Center Dr
   Horsham, PA 19044


   Enhanced Recovery Co L
   8014 Bayberry Rd
   Jacksonville, FL 32256


   Equifax
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   Experian
   PO Box 2002
   Allen, TX 75013-2002


   Firstsource Advantage LLC
   205 Bryant Woods S
   Amherst, NY 14228-3609


   Florida Department Of Revenue
   PO Box 6688
   Tallahassee, FL 32314


   Florida Department Of Transportation
   Violation Enforcement Section
   Po Box 105477
   Atlanta, GA 30348


   Florida Power & Light Company
   C/ O Credit Coll
   Po Box 9136
   Needham, MA 02494


   Florida Power & Light Company
   P.O. Box 025576
   Miami, FL 33102


   Ge Capital Retail Bank
   PO BOX 965033
   Orlando, FL 32896-5033


   Gecrb/care Credit
   Attn: bankruptcy
   Po Box 103104
   Roswell, GA 30076
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   I C System Inc
   Po Box 64378
   Saint Paul, MN     55164


   Ic System
   Attn: Bankruptcy
   444 Highway 96 East; Po Box 64378
   St. Paul, MN 55164


   Internal Revenue Service
   Centralized Insolvency Operation
   P.O. Box 7346
   Philadelphia, PA 19101-7346


   L&W Supply Corp
   21195 Boca Rio Rd
   Boca Raton, FL 33433


   Law Office Of Mitchell A Chester, P.A
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   Plantation, FL 33324


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   7322 Southwest Fwy Ste 1600
   Houston, TX 77074-2053


   Malka & Kravitz, P.A
   1300 Sawgrass Corp Parkway, # 100
   Ft Lauderdale, FL 33323


   Marjam Supply Of Florida
   885 Conklin St
   Farmingdale, NY 11735
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   Mccarthy, Burgess & Wolff
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   Miami Dade Expressway Authority
   3790 NW 21st St
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   Midland Funding
   8875 Aero Dr Ste 200
   San Diego, CA 92123


   Northern Leasing Syste
   132 W 31st St Fl 14
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   Northland Group Inc.
   PO Box 390905
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   Northstar Location Services, LLC
   Financial Services Department
   PO BOX 2157
   Williamsville, NY 14231-2157


   Portfolio Recovery
   Attn: Bankruptcy
   Po Box 41067
   Norfolk, VA 23541


   Portfolio Recovery Ass
   287 Independence
   Virginia Beach, VA 23462
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   Doral, FL 33178


   Sunrise Credit Services, Inc.
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   Farmingdale, NY 11735-9100


   Syncb/care Credit
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   Kettering, OH 45420


   Td Auto Finance
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   Farmington Hills, MI        48333


   Thd/cbna
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   Sioux Falls, SD     57117


   The Bureaus Inc
   1717 Central St
   Evanston, IL 60201


   The Bureaus Inc.
   Attention: Bankruptcy Dept.
   1717 Central St.
   Evanston, IL 60201
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   Transunion
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   Chester, PA      19016-1000


   United Recovery Systems
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